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 AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A CRIMINAL COMPLAINT

I, PETER ONORATO, state:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent of the Federal Bureau of Investigation (“FBI”) and have been

so since March 2016. During my career as a Special Agent, I have been involved in a wide variety

of investigative matters, including terrorism and fraud investigations as well as investigations

targeting criminal enterprises involved in the unlawful distribution of controlled substances in

violation of 21 U.S.C. §§ 841(a)(1) and 846. During the course of these investigations, I have

coordinated    the   execution    of   search    and    arrest   warrants,   conducted     physical

surveillance, participated in controlled purchases with confidential sources, analyzed records

documenting the purchase and sale of illegal drugs, and communicated with other local and federal

law enforcement officers regarding the manner in which drug distributors obtain, finance, store,

manufacture, transport, and distribute their illegal drugs. Through my training and experience I

have become familiar with the manners in which illegal drugs are imported, distributed, and sold,

as well as the methods used by drug dealers to disguise the source and nature of their profits.

                                  PURPOSE OF AFFIDAVIT

       2.      I submit this affidavit in support of an application for a Criminal Complaint

charging Ryan PAVAO (“PAVAO”), a/k/a “Styx,” a/k/a “Jimmy,” with distribution of a controlled

substance, to wit: fentanyl, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(B) (the “Subject Offense”).

       3.      I am familiar with the facts and circumstances of this investigation from my own

personal participation and from oral reports made to me by FBI Special Agents and other state and

local law enforcement agencies.
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       4.      This Affidavit is submitted for the limited purpose of establishing probable cause

to believe that PAVAO committed the Subject Offense. Accordingly, I have not included each

and every fact known to me and other law enforcement officers involved in this investigation. I

have set forth only the facts that I believe are needed to establish the requisite probable cause.

                               BASIS FOR PROBABLE CAUSE

       5.      In January 2022, at the direction of FBI, a confidential witness (“CW-1”)1 began

making purchases of fentanyl from PAVAO.

       6.      For each of the controlled buys, FBI followed the same procedure. Prior to the buy,

CW-1 contacted PAVAO to confirm the details of the purchase of fentanyl, including the location

and price. Immediately prior to each controlled buy, law enforcement officers searched CW-1 for

contraband or money, equipped CW-1 and/or CW-1’s vehicle with a recording device and

transmitter and provided CW-1 with Official Agency Funds (“OAF”). During the transaction, law

enforcement officers surveilled CW-1 to and from the transaction and monitored the transmission

of the transaction. Following the transaction, law enforcement officers surveilled CW-1 back to a

pre-determined meeting location, where they again searched CW-1 for contraband and money and

retrieved the recording device and thpe contraband.

       7.      On January 28, 2022, law enforcement officers met with CW-1. At the direction of


1
  CW-1 has a criminal history that includes prior arrests for assault and battery with a dangerous
weapon, breaking and entering, and distribution of Class A. On previous occasions, CW-1 has
accurately identified and corroborated events and individuals involved in active criminal
investigations, including in drug and firearm investigations. At the direction of law enforcement,
CW-1 previously made controlled purchases of evidence in conjunction with criminal
investigations. CW-1’s assistance led to search and arrest warrants. CW-1’s cooperation is
financially motivated, and CW-1 has been paid over $50,000 for providing information and
services in this and other investigations. Because of CW-1’s history of providing credible
information and the corroboration described here this case, I believe CW-1’s information is
reliable.


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agents, CW-1 texted PAVAO at (401) 688-6162 (“6162 Number”). During the conversation,

PAVAO agreed to sell CW-1 50 grams of fentanyl for $1,700 that afternoon. Agents took

photographs of the text conversation.

       8.       Prior to the controlled buy, agents provided CW-1 an audio recording device. At

approximately 12:35 pm, agents observed CW-1 arrive at the buy location. At approximately 12:48

pm, agents observed a black Cadillac sedan bearing Massachusetts license plate number 3GPB59

park in the vicinity of the buy location. Agents then observed an individual dressed in black,

identified as PAVAO, exit the vehicle. PAVAO then entered CW-1’s vehicle. Shortly after,

PAVAO exited CW-1’s vehicle and re-entered the Cadillac.

       9.       After CW-1 left the buy location, CW-1 drove to the predetermined location to meet

agents. CW-1 then provided a baggie filled with a white substance to agents.

       10.      On May 26, 2022, the substance was sent to the Drug Enforcement Administration

(“DEA”) Northeast Laboratory for testing. On June 29, 2022, I received the results from the

laboratory, which confirmed the substance weighed approximately 49.1 grams and tested positive

for the presence of fentanyl.

       11.      On February 9, 2022, law enforcement officers met with CW-1. At the direction of

agents, CW-1 called PAVAO at the 6162 Number. During the conversation, PAVAO agreed to

sell CW-1 50 grams of fentanyl for $1,700. A law enforcement officer was present for the phone

conversation.

       12.      Immediately prior to the controlled buy, agents provided CW-1 a video recording

device. At approximately 12:45 pm, agents observed CW-1 arrive at the buy location. At

approximately 12:48 pm, agents observed PAVAO arrive at the location in a green motorcycle.

       13.      PAVAO then got off the motorcycle and entered CW-1’s vehicle. Shortly after,



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PAVAO exited CW-1’s vehicle. CW-1 then drove away from the buy location as PAVAO stayed,

standing next to his motorcycle.

       14.     CW-1 drove to the predetermined location to meet agents. CW-1 then provided a

baggie filled with a white substance to agents.

       15.     On October 27, 2022, the substance was sent to the DEA Northeast Laboratory for

testing. On November 15, 2022, I received the results from the laboratory, which confirmed that

the substance weighed 50.818 grams and tested positive for the presence of fentanyl.

                                         CONCLUSION

       16.     Based upon the foregoing, there is probable cause to believe that on January 28,

2022, PAVAO did knowingly and intentionally distribute a controlled substance, to wit: fentanyl,

in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

                                               I declare that the foregoing is true and correct.



                                                Peter Oronato /by Paul G. Levenson
                                               ____________________
                                               PETER ORONATO
                                               Special Agent
                                               Federal Bureau of Investigation

Time and Date:     11:41 am December 2, 2022

Notice is hereby provided that, pursuant to Federal Rule of Criminal Procedure 4.1, the
affiant was sworn by telephone on the date and time indicated above.




___________________________________________
Honorable Paul G. Levenson
United States Magistrate Judge




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